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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov




In re:

CHAIM LEVILEV,                                                  Case No. 6:24-bk-03843-LVV
                                                                Chapter 7

                       Debtor.
__________________________________/



                        MOTION TO CONTINUE HEARING SET FOR
              APRIL 29, 2025 AND CORRESPONDING ASSOCIATED DEADLINES

         Gene T. Chambers, Chapter 7 Trustee (the “Trustee”), by and through her undersigned

counsel, hereby moves to continue the hearing on Motion to Approve Compromise of Controversy

or Settlement Agreement (“Motion”)(Doc. No. 90) and Trustee’s Response in Opposition to

Debtor’s Motion to Approve Compromise of Controversy (Doc. No. 99) which is set for hearing on

April 29, 2025, at 2:00 p.m. (Doc. No. 104) and says as follows:

         1.      This matter is currently scheduled for non-evidentiary hearing on April 29, 2025 at

2:00 p.m.

         2.      The Court set a deadline for briefing of the issues before the Court as April 22, 2025.

         3.      Counsel for the Debtor and the Trustee have reached an agreement that would resolve

the need for a hearing on the Motion. The parties will be endeavoring to reducing the agreement to

a written document and will be filing same along with an 11 U.S.C. 9019 motion prior to the

currently scheduled hearing date.
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       4.       Counsel for the Trustee attests that she has conferred with Counsel for the Debtor,

as well as Counsel for Creditors, Harmless Products, LLC and Nossen Levilev regarding continuing

this hearing. As a result, the aforementioned counsel collectively request that the hearing be

rescheduled to May 21, 2025 or as soon thereafter as is convenient to the Court. That timeframe will

allow for the 11 U.S.C. 9019 motion to be filed with the negotiated settlement agreement and the

negative notice period of twenty-one days to expire. Additionally Counsel asks that the briefing

schedule associated with the continued hearing also be extended to one week prior to the new

hearing date.

       5.       The associated deadlines for the filing of an Objection to Discharge under 11 U.S.C.

§523 or §727 by the Trustee, U.S. Trustee, and Creditors Harmless Products, LLC, and Nossen

Levilev are currently set, by agreement and Court order, for April 30, 2025.(Orders, Doc Nos. 111

and 112). Counsel also collectively request that those associated deadlines be extended to no less

than three business days after the continued hearing date.

       6.       This motion is brought in good faith and in the interest of justice and not for the

purposes of delay.

       7.       The continuation of the hearing and other deadlines to later dates would not prejudice

any interested parties.

       WHEREFORE the Trustee requests this court enter an order: 1) granting a continuance of

the hearing on Motion to Approve Compromise of Controversy or Settlement Agreement

(“Motion”)(Doc. No. 90) and Trustee’s Response in Opposition to Debtor’s Motion to Approve

Compromise of Controversy (Doc. No. 99) to May 21, 2025 or as soon thereafter as is convenient

to the Court; 2) moving the required briefing deadline to one week prior to the new hearing date;

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and 3) extending the deadline to file an objection to Debtor’s discharge for only those parties who

have previously requested same to no less than three business days after the new hearing date.

       Respectfully submitted this 22nd day of April, 2025.

                                             /s/ Cynthia E. Lewis, Esq.
                                             Cynthia E. Lewis, Esq.
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                                             Facsimile No.: (407) 246-0008
                                             E-mail: clewis@nardellalaw.com
                                             Attorney for Trustee

                                CERTIFICATE OF SERVICE

        HEREBY CERTIFY that the foregoing Motion to Continue Hearing Scheduled for April 29,
2025 was provided electronically, via CM/ECF, or by regular U.S. Mail, Postage prepaid to the
following on this 22nd day of April, 2025: Trustee: Gene T. Chambers, P.O. Box 533987, Orlando,
FL 32853; Debtor: Chaim Levilev, 2 Whispering Pine Trail, Ormond Beach, FL 32074; Debtor’s
Attorney: L. Todd Budgen, Budgen Law, P.O. Box 520546, Longwood, FL 32752; David W.
Berenthal, Esquire, 45 East 72nd Street, Ste 5C, New York, NY 10021 and United States Trustee,
George C. Young Federal Building, 400 West Washington Street, Suite 1100, Orlando, FL 32801.


                                             /s/ Cynthia E. Lewis
                                             Cynthia E. Lewis




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